              Case 4:08-cr-00315-RSB-CLR Document 1682 Filed 01/23/20 Page 1 of 1

 PROB 35                 Report and Order Terminating Probation/Supervised Relea^.
(Rev. 6/17)                             Prior to Original Expiration Date          y g OiSTRiCf    f
                                                                                   'SAfeMNAii DIV.
                                        United States District Court                              3- 53
                                                    FOR THE
                                    SOUTHERN DISTRICT OF GEORGIACLERKI^
                                              SAVANNAH DIVISION                     30.0fSircrF GA.



              UNITED STATES OF AMERICA


                           V.                              V    Crim.No. 4:08CR00315-11

                 Michael Anthony Davis
                      aka "Mike"

       On November 10, 2016, Michael Anthony Davis, aka "Mike," was placed on supervised release for a
period of five years. Davis has complied with the rules and regulations of supervised release and is no longer in
need of supervision. It is accordingly recommended that he be discharged from supervision.

                                                               Respectfully submitted,



                                                               Erica Campoeil
                                                               U.S. Probation Officer



                                          ORDER OF THE COURT


       Pursuant to the above report, it is ordered that the defendant is discharged from supervision and that the
proceedings in the case be terminated.

         Dated this                  day of                /ty             2020.


                                                          William T, Moore, Jr.
                                                          Judge, U.S. District Court
